                          Case 23-11131-TMH               Doc 466-1        Filed 10/04/23         Page 1 of 2




                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

                                                                            )
             In re:                                                         )      Chapter 11
                                                                            )
             AMYRIS, INC, et al.,1                                          )      Case No. 23-11131 (TMH)
                                                                            )      (Jointly Administered)
                                       Debtors.                             )
                                                                            )      Obj. Deadline: Oct. 11, 2023 at 4:00 p.m. (ET)
                                                                            )      Hearing Date: Oct. 18, 2023 at 2:00 p.m. (ET)
                                                                            )

                                                      NOTICE OF MOTION

                 PLEASE TAKE NOTICE that DSM Nutritional Products Ltd. and its affiliates (including
         Firmenich S.A.) (collectively, “DSM-Firmenich”), by and through their undersigned counsel, have
         filed the attached Motion of DSM-Firmenich to Compel Debtors’ Compliance with Section
         365(n)(4) of the Bankruptcy Code (the “Motion”) with the United States Bankruptcy Court for the
         District of Delaware (the “Court”).

                PLEASE TAKE FURTHER NOTICE that any objections to the Motion must be filed
         on or before October 11, 2023 at 4:00 p.m. (ET) (the “Objection Deadline”) with the United
         States Bankruptcy Court for the District of Delaware, 824 North Market Street, 3rd Floor,
         Wilmington, Delaware 19801. At the same time, you must serve a copy of the objection upon the
         undersigned counsel to DSM-Firmenich so as to be received on or before the Objection Deadline.

              PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER THE
         MOTION WILL BE HELD ON OCTOBER 18, 2023 AT 2:00 P.M. (ET) BEFORE THE
         HONORABLE THOMAS M. HORAN, IN THE UNITED STATES BANKRUPTCY COURT
         FOR THE DISTRICT OF DELAWARE, 824 N. MARKET STREET, 5TH FLOOR,
         COURTROOM NO. 5, WILMINGTON, DELAWARE 19801.

              PLEASE TAKE FURTHER NOTICE THAT, IF NO OBJECTIONS OR RESPONSES
         TO THE MOTION ARE TIMELY FILED, SERVED, AND RECEIVED IN ACCORDANCE
         WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF REQUESTED THEREIN
         WITHOUT FURTHER NOTICE OR HEARING.




         1
               A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
               proposed claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris Inc.’s
               principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
               100, Emeryville, CA 94608.
30835492.2
                        Case 23-11131-TMH             Doc 466-1      Filed 10/04/23   Page 2 of 2




             Dated: October 4, 2023                      Respectfully submitted,
                    Wilmington, Delaware
                                                         YOUNG CONAWAY STARGATT &
                                                         TAYLOR, LLP

                                                          /s/ Andrew L. Magaziner
                                                         Andrew L. Magaziner (No. 5426)
                                                         Rodney Square
                                                         1000 North King Street
                                                         Wilmington, Delaware 19801
                                                         Telephone: (302) 571-6600
                                                         Facsimile: (302) 571-1253
                                                         Email: amagaziner@ycst.com

                                                         - and -

                                                         LATHAM & WATKINS LLP
                                                         James Ktsanes (admitted pro hac vice)
                                                         Joseph C. Celentino2 (admitted pro hac vice)
                                                         330 North Wabash Avenue
                                                         Suite 2800
                                                         Chicago, Illinois 60611
                                                         Tel: (312) 876-7700
                                                         Email: james.ktsanes@lw.com
                                                                joe.celentino@lw.com

                                                         -and-

                                                         Jonathan J. Weichselbaum (admitted pro hac vice)
                                                         1271 Avenue of the Americas
                                                         New York, New York 10020
                                                         Tel: (212) 906-1200
                                                         Email: jon.weichselbaum@lw.com

                                                         Counsel to DSM-Firmenich AG, DSM Nutritional
                                                         Products Ltd., and Firmenich SA




         2
                  Not admitted in Illinois. Admitted in New York.
30835492.2

                                                                 2
